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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                          CASE NO.: 3:02cr95/LAC
                                                  3:06cv79/LAC/MD
STEVEN WATTS
_____________________________________________________________________
                                      ORDER
      Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on May 8, 2006, pursuant to 28 U.S.C. § 636(b)(1)(B), and after reviewing
objections to the Recommendation, if any, the Recommendation is adopted as the
opinion of the Court.
      Accordingly, it is ORDERED:
      The government’s motion to dismiss (doc. 201) is DENIED, and it is directed
to respond to the defendant’s motion to vacate within thirty days of this order.


      DONE AND ORDERED this 8th day of June, 2006.




                                       s /L.A. Collier
                                       LACEY A. COLLIER
                                       SENIOR UNITED STATES DISTRICT JUDGE
